Case 3:16-md-02738-MAS-RLS   Document 32227-1   Filed 05/21/24   Page 1 of 19
                             PageID: 183478




             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                 No. 3:16-md-02738-MAS-RLS
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




  DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT
   LLC’S MOTION TO COMPEL INSPECTION OF DR. WILLIAM
                 LONGO’S LABORATORY
Case 3:16-md-02738-MAS-RLS                    Document 32227-1             Filed 05/21/24         Page 2 of 19
                                              PageID: 183479



                                      TABLE OF CONTENTS
                                                                                                        Page(s)

TABLE OF AUTHORITIES ................................................................................. ii
INTRODUCTION ................................................................................................. 1
BACKGROUND ................................................................................................... 3
LEGAL STANDARD............................................................................................ 8
ARGUMENT ........................................................................................................ 9
CONCLUSION ....................................................................................................15




                                                         i
Case 3:16-md-02738-MAS-RLS                     Document 32227-1              Filed 05/21/24          Page 3 of 19
                                               PageID: 183480



                                     TABLE OF AUTHORITIES

Case                                                                                                       Page(s)
Cuno Inc. v. Pall Corp.,
  116 F.R.D. 279 (E.D.N.Y. 1987) ....................................................................... 9

E.E.O.C. v. Supervalu, Inc.,
   2010 WL 5071196 (N.D. Ill. Dec. 7, 2010) .................................................... 8, 9

In re Garlock Sealing Techs., LLC,
    504 B.R. 71 (Bankr. W.D.N.C. 2014) ................................................................3

In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs.
    & Prods. Litig.,
    509 F. Supp. 3d 116 (D.N.J. 2020)..................................................................... 1

L.G. Philips v. Tatung Co. of America,
   2005 WL 8157808 (C.D. Cal. Jan. 11, 2005) ............................................. 14, 15

Nat'l Mfg. Co. v. Janed Enterprises, Inc.,
  2013 WL 12470870 (D.N.J. July 3, 2013)..........................................................9

Other Authorities

Fed. R. Civ. P. 26................................................................................................ 8, 9

Fed. R. Civ. P. 34............................................................................................ 1, 8, 9




                                                          ii
Case 3:16-md-02738-MAS-RLS         Document 32227-1      Filed 05/21/24    Page 4 of 19
                                   PageID: 183481



      Defendants Johnson & Johnson and LLT Management LLC (hereafter,

“Defendants”) submit this brief pursuant to Federal Rule of Civil Procedure 34(a)(2)

to compel Plaintiffs’ expert Dr. William Longo to make his laboratory available for

inspection.

                                 INTRODUCTION


      Dr. William Longo is one of Plaintiffs’ testing experts, and a testifying expert

in the bellwether cases. Dr. Longo tested bottles of Johnson’s Baby Powder and

claims he found asbestos in the bottles—a key issue in the cases pending in this

MDL and one that will be a central focus of certain Rule 702 motions.

      In connection with the first round of Rule 702 rulings in this MDL regarding

Dr. Longo’s talc testing, the Court concluded that “Dr. Longo’s PLM [polarized light

microscopy] methodology is unreliable because it was replete with subjectivity and

reproducibility problems.” In re Johnson & Johnson Talcum Powder Prods. Mktg.,

Sales Pracs. & Prods. Litig., 509 F. Supp. 3d 116, 155 (D.N.J. 2020).

      In order to sidestep this decision, Dr. Longo now uses a new PLM method,

but his new method is even worse on the very same grounds than the prior one. Dr.

Longo now claims to find “chrysotile” asbestos using PLM in nearly 100% of bottles

of cosmetic talc he tests, regardless of mine source or manufacturer. But even

another plaintiffs-side expert in cosmetic talc litigation agrees that what is really

going on is that Dr. Longo is simply finding talc in the talc—and calling it chrysotile.


                                           1
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24   Page 5 of 19
                                  PageID: 183482



      Defendants request an inspection of Dr. Longo’s lab so that defense experts

and Dr. Longo can look at the same particles at the same time and under the same

microscope. The critical issue relevant to this request is Dr. Longo’s insistence that

only he and his analysts, using their equipment in their own lab (MAS), can

undertake his new method and reach the conclusions he reaches. Dr. Longo has

repeatedly and adamantly avoided questions regarding his testing methods and

results based on the imaging that he has produced in reports and at deposition by

claiming he would have to be physically at an MAS microscope looking at a particle

in real time in order to explain the basis for his opinions. As one of many examples,

when asked to identify a particle in his report, he testified: “I’d have to be looking

in the microscope at it to tell you what that is.” Ex. L, Longo Valadez Dep. 55:17-

56:14. Defendants’ request is therefore time sensitive because it concerns the

reliability of Dr. Longo’s testing method—which is at the heart of the upcoming

Rule 702 briefing.

      Since Dr. Longo claims that viewing the particles in his microscope live is

necessary to ascertain whether a particle is talc or asbestos, Defendants request an

order permitting an inspection of Dr. Longo’s lab. Specifically, Defendants request

an opportunity for defense experts to observe the lab’s analysis in real time, so they

can make contemporaneous observation of the same samples on the same PLM

equipment used by MAS.



                                          2
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24   Page 6 of 19
                                  PageID: 183483



                                 BACKGROUND

      Plaintiffs’ expert Dr. Longo is the President and a 75% owner of his lab

Material Analytical Services, LLC (“MAS”). 95% of the time that he is in court, Dr.

Longo is testifying for plaintiffs’ attorneys in asbestos litigation. Ex. A, Longo

2/7/19 Leavitt Tr. 178:20-23.

      Courts have excluded Dr. Longo’s opinions on numerous occasions. In some

instances, they have called his work “junk science” and “pseudo-science at best.”

Ex. B, In re Lamar Cty. Order (Tx. Dist. Ct. July 5, 2001) at 1; In re Garlock Sealing

Techs., LLC, 504 B.R. 71, 80 (Bankr. W.D.N.C. 2014). One court elaborated: “Re-

reading Dr. Longo’s testimony reveals it to be practiced and to employ misdirection

and evasiveness. It is at best disingenuous, not credible and unsupported by any

respectable community of scientists.” Ex. B, In re Lamar Cty. Order (Tx. Dist. Ct.

July 5, 2001) at 12.

      Dr. Longo began testing talc for asbestos for purposes of cosmetic talc

litigation in late 2016. Ex. C, Longo 9/4/2019 Cabibi Tr. 2759:14-19. For years, he

never found a type of asbestos known as chrysotile in cosmetic talc. See Ex. D,

Longo Rimondi Tr. 140:14-141:8. Then in 2020, Dr. Longo began using a new

method using polarized light microscopy (known as “PLM”)—despite previously

testifying that “the PLM method is not appropriate to do an evaluation for these types

of products” (i.e. talcum powder products). Ex. W, Longo Weirick 8/24/18 Tr.



                                          3
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24   Page 7 of 19
                                  PageID: 183484



2921:25-28. In fact, Dr. Longo testified at least as of January 2019 that he had never

“personally analyzed a [talc] sample for the presence of asbestos using PLM.” Ex.

E, Longo Young Dep. 85:18-20. As he put it then, “I don’t do PLM analysis.” Id. at

86:5-6. (MAS analysts did the actual testing.)

      Dr. Longo now claims to find chrysotile using PLM in nearly 100% of

cosmetic talc bottles he tests. Ex. F, Longo Forrest Dep. 138:9-18. He says that

“[a]ny bottle that was sold in North America that used a mine source for cosmetic

talc in North America will have some level of asbestos in it.” Ex. G, Longo Eagles

Dep. (Vol. III) 449:12-21.

      As even an expert often on the plaintiffs’ side of cosmetic talc litigation

explains, the reason Dr. Longo is finding “chrysotile” in every talc bottle is because

he is misidentifying talc as asbestos. In other words, Dr. Longo is simply finding

talc in the talc—but calling it asbestos. Frequent plaintiffs’ expert Mr. Lee Poye

testified: “Q. In your opinion, what do those photos that Dr. Longo claims is

chrysotile from that -- from his PLM analysis, what are those structures? A. The

edge of talc plates.” Ex. H, Poye McNeal Dep. 128:20-129:6. No one who has

reviewed MAS’s imaging has been willing to go on record to agree that MAS is

finding chrysotile by PLM. Ex. V, Longo MDL (Vol. 1) Dep. 122:16-123:12.

      Under the PLM method that Dr. Longo uses, the mineral type of a particle is

determined by identifying the color that the particle appears under the microscope



                                          4
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24    Page 8 of 19
                                  PageID: 183485



after coating it in a particular oil. See Ex. F, Longo Forrest Dep. 72:15-17, 75:23-

76:9. More specifically, PLM analysis performed at MAS relies on analysts correctly

identifying the specific shade of color seen under the microscope, matching those

colors up to a chart, and then reporting values that are used to identify whether the

microscopic particles viewed are asbestos, talc, or some other mineral.

      So for example, the ISO (International Standards Organization) protocols that

Dr. Longo claims at least in part to follow state that talc in parallel orientation 1

should be a pale yellow. Ex. I, ISO 22262-1 at 28; Ex. J, Longo Eagles Dep. (Vol.

II) 245:5-17. Chrysotile asbestos, by contrast, should appear purple in parallel,

though colors can range from deep orange to blue. Below is an image of a sample

particle and the color range for chrysotile in parallel from the ISO protocols:




1
 Particles are evaluated by PLM in both a “parallel” and “perpendicular” orientation,
with each producing a different color.


                                          5
Case 3:16-md-02738-MAS-RLS         Document 32227-1      Filed 05/21/24   Page 9 of 19
                                   PageID: 183486



                                                            Chrysotile
                                                            (Parallel)




Ex. I, ISO 22262-1 at 41-43.

      In order to call particles “chrysotile,” Dr. Longo’s lab incorrectly reports the

colors of the particles. Take for example this particle below: 2




Ex. K, Longo Valadez Report at 33. Dr. Longo admitted that particle is “brownish

gold.” Ex. J, Longo Eagles (Vol. II) Dep 263:5-18. (Talc should appear yellow.)

However, Dr. Longo treats that particle as purple for purposes of his analysis, which




2
 Dr. Longo’s analyst reports a numerical “refractive index” or “R.I.” for the color
of the particle he claims to see. Those indices correspond to particular colors. Dr.
Longo’s report lists this particle as R.I. 1.564, which corresponds to purple. Ex. K,
Longo Valadez Report at 33.

                                           6
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24   Page 10 of 19
                                   PageID: 183487



is the color chrysotile should look like, such as in the ISO exemplar image above.

Ex. G, Longo Eagles Dep. (Vol. III) at 308:4-309:7.

       Additionally, for much of Dr. Longo’s PLM testing for chrysotile, he claimed

he was using a microscope that had a tungsten lightbulb which emitted a yellow-

hued light. Ex. L, Longo Valadez Dep. 30:9-31:3. The colors of the particles in that

testing—the key component of identifying the mineral—were therefore distorted.

See id; see also Ex. X, Valadez Dep. Demonstrative at 14-15.

       Even now when Dr. Longo says he is no longer using that light bulb, his

images still suffer from coloration problems. Dr. Longo purports to rely in part on

PLM methods authored by Dr. Shu-Chun Su. Dr. Longo has testified that Dr. Su is

a “well respected scientist,” “an authority in terms of mineral identification through

staining techniques,” and that essentially “every lab in the country” uses Dr. Su’s

methods for their PLM analysis. Ex. Y, Longo 7/7/21 Prudencio Tr. 5133:11-

5134:11. But Dr. Su himself authored a report in this MDL explaining, among other

things, that MAS’s images are too dark. Specifically, Dr. Su says that “MAS

routinely uses insufficient light intensity, as if the light intensity was suppressed.”

Ex. Z, Su Rpt. at 3, Exhibit C to the Su Report at 2-5. This in turn serves to distort

the color the particles appear—the critical step in ascertaining the mineral type of

the particles. Id.




                                          7
Case 3:16-md-02738-MAS-RLS       Document 32227-1         Filed 05/21/24   Page 11 of 19
                                  PageID: 183488



      Most critically, as discussed in more detail below, Dr. Longo has repeatedly

dodged questions regarding his findings on the basis that he would need to be sitting

live at the microscope to accurately confirm the aspects of the particles that would

determine whether those particles are talc or asbestos.

      To avoid this never-ending dodge by Dr. Longo and bring these issues of what

color he is seeing to a head, Defendants served an Updated Notice of Oral and

Videotaped Deposition of Dr. Longo, which included a Notice of Inspection

pursuant to Fed. R. Civ. P. 34(a)(2) on April 18, 2024. See Ex. M. This would allow

defense experts to view the same particles that Dr. Longo is viewing in real time.

Plaintiffs objected. Ex. N. The parties met and conferred but were unable to reach

agreement. Defendants now request on order requiring Dr. Longo to make his

laboratory available for inspection.

                               LEGAL STANDARD

      Federal Rule of Civil Procedure 34(a)(2) permits a party to serve a request

“within the scope of Rule 26(b)” to “permit entry onto designated land or other

property” to order to “inspect, measure, survey, photograph, test, or sample the

property or any designated object or operation on it.”

      A Rule 34(a) request to inspect “poses a very low hurdle.” E.E.O.C. v.

Supervalu, Inc., 2010 WL 5071196, at *10 (N.D. Ill. Dec. 7, 2010) (internal citations

and quotation marks omitted). The rule itself “requires only that such a request seek



                                          8
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24    Page 12 of 19
                                   PageID: 183489



information ‘within the scope of Rule 26(b).’” Id. Rule 26(b), of course, permits

“discovery regarding any nonprivileged matter that is relevant to any party’s claim

or defense and proportional to the needs of the case.” A “showing of need” is

accordingly not necessary. Cuno Inc. v. Pall Corp., 116 F.R.D. 279, 281 (E.D.N.Y.

1987).

      Some courts have said that they use “‘reasonableness’ as a guidepost” for Rule

34 requests to inspect. See Nat'l Mfg. Co. v. Janed Enterprises, Inc., 2013 WL

12470870, at *2 (D.N.J. July 3, 2013) (granting in part request for inspection)

(internal citations omitted).

                                    ARGUMENT

      Defendants’ request to inspect Dr. Longo’s lab is relevant and proportional to

the needs of the case. Dr. Longo now claims to find chrysotile asbestos in nearly

every single bottle of cosmetic talc he tests using a method that depends on the color

a particle appears.

      But he has repeatedly avoided answering questions about the bases for his

testing results by stating that he would have to be physically sitting at the microscope

looking at a particle live to understand how he was purporting to identify chrysotile.

For example:

   • When asked to identify a particle in his report, Dr. Longo testified, “I’d have
     to be looking in the microscope at it to tell you what that is” and then said
     again: “I’d have to be looking in the PLM scope to make a guess.” Ex. L,
     Longo Valadez Dep. 55:17-56:14.

                                           9
Case 3:16-md-02738-MAS-RLS        Document 32227-1     Filed 05/21/24   Page 13 of 19
                                   PageID: 183490



   • When pressed on whether that particle was talc, he stuck to his same response:
     “Again, I’d have to be looking in the microscope to make any decision on
     what that might be.” Id. at 56:15-18.

          o A video excerpt of these first two examples is available at Ex. L.1.

   • When asked why he was identifying a so-called chrysotile particle as
     “magenta” when it was clearly not magenta, Dr. Longo stated as part of his
     answer that he would “have to be under the microscope to look at it.” Ex. L,
     Longo Valadez Dep. 61:5-62:3.

   • When asked whether he was treating a different yellow “chrysotile” particle
     as purple for purposes of his analysis he said: “I’d have to be sitting at the
     PLM scope.” Id. at 64:13-20.

   • When asked if his lab was reporting yet another “chrysotile” particle as closer
     to the purple end of the light spectrum than a prior particle, Dr. Longo
     testified: “I’m not looking in a microscope. I can’t answer it anymore and
     help you out here.” Id. at 67:2-17.

   • When asked whether he could identify numerically (by the wavelength of light
     per the methodology Dr. Longo claims to follow) the color on specific area of
     the particle Dr. Longo claimed was relevant, he testified: “No. In order for
     me to do that, I would have to be sitting at the microscope, in focus, out of
     focus, and look at that.” Id. at 78:13-79:9.

   • When asked what the refractive index of talc particles are, he again testified:
     “I’d need to be looking in the microscope.” Id. at 39:17-40:14.

      It is therefore critical to Defendants’ defense of these cases and Rule 702

analysis for a defense expert to view the same particles as Dr. Longo at the same

time in the same lab and on the same equipment so that there can be no dispute about

what the particles truly look like.

      Additionally, to try to explain why he was reporting yellow particles as purple,

Dr. Longo claims that he is relying on the color that appears just on the edges of the



                                         10
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24    Page 14 of 19
                                   PageID: 183491



particles. However, Dr. Longo admitted that those edge colors could simply be an

artifact of his images, for example if the “focus is off”: “[E]very particle has some

of the red around it. And I don’t know if that’s just an artifact or not.” Ex. J, Longo

Eagles Dep. (Vol. II) 256:21-257:11. Accordingly, the only way to determine the

true color of the area of the particle Dr. Longo is relying on is to look live through a

microscope, not at the produced images.

      Indeed, the same red/purple edges Dr. Longo relies on to identify particles as

“chrysotile” can routinely be seen around particles that even Dr. Longo

acknowledges are talc:




See Ex. X, Valadez Dep. Demonstrative at 25; Ex. K, Longo Valadez Rpt. at 33, 34,

38, 39.

      Dr. Longo has previously testified that a different method—transmission

electron microscopy or “TEM”—is the best way to accurately identify chrysotile in


                                          11
Case 3:16-md-02738-MAS-RLS        Document 32227-1      Filed 05/21/24    Page 15 of 19
                                   PageID: 183492



talc. See Ex. O, Longo Kerkhof Dep. 187:19-188:17. Yet Dr. Longo has refused to

test the validity of his PLM work by using TEM, which if faithfully applied could

conclusively determine whether the particles at issue are talc or asbestos. Ex. P,

Longo Clark Dep. (Vol. II) 206:7-11.

      Defendants’ request is also necessary and reasonable because they cannot

replicate Dr. Longo’s PLM method. In fact, the only way to view the particles at-

issue without distorted lighting is to view them through the microscope in Dr.

Longo’s lab. First, as discussed above, the lighting MAS uses to take images of the

particles distorts the particles’ color—and the particles’ color is the critical step to

identifying the minerals in this PLM method.

      Second, the slides with the samples that MAS looks at under the microscope

degrade in relatively short order. Ex. Q, 3/15/23 Valadez CMC Tr. at 54:5-6. For

example, Defendants requested Dr. Longo’s slides in the Valadez case in California

state court days after Dr. Longo issued his report in that case. Ex. R, 3/9/23 Letter.

But Defendants were later informed those slides were no longer usable at that time.

Ex. S, 3/23/23 CMC Tr. at 55:15-21. In other words, the only way for defense experts

to look at the same particles MAS is looking at in the same way is to view them live

under the microscope at the same time as Dr. Longo.

      Third, Dr. Longo’s methodology cannot be replicated because it is constantly

in flux. See Ex. P, Longo Clark Dep. 197:24-227:15. He has invented his own PLM



                                          12
Case 3:16-md-02738-MAS-RLS       Document 32227-1      Filed 05/21/24   Page 16 of 19
                                  PageID: 183493



method that has never been subject to peer review. Ex. F, Longo Forrest Dep.

126:10-13; see also id. at 59:6-17. In February 2020, Dr. Longo testified before the

FDA that he had “cracked the code” for testing talc for chrysotile. Ex. T, Longo

2/4/20 FDA Tr. 176:19-177:5. Part of that method at the time involved using an

iodine solution to stain the samples, claiming to follow a 1974 preparation protocol

from the Colorado School of Mines. Ex. U, Longo Zimmerman Dep. 191:22-192:8,

192:20-23. But he later admitted “We’re not using iodine anymore” because “[t]hat

did not work.” Ex. F, Longo Forrest Dep. 59:9-12.

      Other parts of the method have changed over time as well. For example, the

type of oil used to coat the sample has changed, which affects the color the particle

appears. See, e.g., Ex. P, Longo Clark (Vol. II) Dep. 209:21-23, 221:15-17 (1.550

oil vs. 1.560 oil). Which part of the sample is used for the testing has changed. See,

e.g. id. at 208:5-8, 209:12-14 (heavy fraction vs. light fraction). The approach to

using a centrifuge has also changed. See, e.g. id. at 199:24-200:3, 217:19-25 (500

RPM and 1800 RPM for 10 minutes each at room temperature vs. vigorous shaking

for 10-20 seconds followed by 2,000 RPM for 72 hours at 15°C).

      Dr. Longo even testified in his May 2, 2024 deposition in this MDL that for

his PLM testing, he hasn’t “finished the standard operating procedures because we

keep doing research and changing slight – slight conditions.” Ex. V, Longo MDL

(Vol. I) Dep. 47:6-13. He additionally testified that his PLM methodology is not



                                         13
Case 3:16-md-02738-MAS-RLS        Document 32227-1       Filed 05/21/24   Page 17 of 19
                                   PageID: 183494



ready to be published in a peer-reviewed journal. Id. at 118:5-119:7; see also Ex.

AA, Longo Chapman Dep. 607:5-15 (agreeing in 2022 his method was still in the

“beta phase”). And he disagreed that “submitting [his] methods to the scrutiny of the

larger scientific community is a component of good science.” Ex. V, Longo MDL

(Vol. I) Dep. 124:16-24.

      Defense experts need to visit Dr. Longo’s lab to see the particles Dr. Longo

claims are asbestos at the same time he is looking at them. This way, the defense can

respond to Dr. Longo’s deflections that one would need to be live at the microscope

to answer critical questions about those particles. An inspection would allow the

defense to evaluate the particles without potential distortions or “artifacts” resulting

from the still images taken of the particles. And it would permit defense experts to

view the particles under the exact same lighting conditions MAS is using in its lab

and with Dr. Longo’s own sample preparation method. Nor would an inspection pose

any undue burden on Plaintiffs or MAS.

      In short, since Dr. Longo testifies differentiating between talc and chrysotile

asbestos requires him to be sitting at his microscope live, then the defense deserves

an opportunity to examine those supposed chrysotile particles live in that same

manner. By Dr. Longo’s own admission, the still images he produces are not

sufficient to understand the bases for his opinion. See L.G. Philips v. Tatung Co. of

America, 2005 WL 8157808, at *2 (C.D. Cal. Jan. 11, 2005) (“Irrespective of



                                          14
Case 3:16-md-02738-MAS-RLS       Document 32227-1       Filed 05/21/24   Page 18 of 19
                                  PageID: 183495



whether documents produced already contain a written description detailing the

manufacturing process, viewing defendant's manufacturing process is clearly

relevant or, at a minimum, reasonably calculated to lead to the discovery of

admissible evidence”) (internal citation omitted); see also id. (“[T]he mere fact that

defendant CPT has already produced thousands of pages of documents in discovery

does not establish that plaintiffs are already in possession of the same information

that they would obtain from the plant inspections.”).

                                  CONCLUSION

      Defendants request that the following be made available for inspection:

      1.     All PLM microscopes used by MAS at 3945 Lakefield Ct, Suwanee,
             GA 30024 for its analysis of the materials referenced in Defendants’
             requests for production 20-24 (attached hereto as Exhibit M at 10-12);

      2.     MAS’s methodology for preparing the materials referenced in
             Defendants’ requests for production 20-24 (Ex. M at 10-12) for
             subsequent analysis by PLM for the identification of “chrysotile,”
             including but not limited to observing in real time the preparation of
             one or more samples of Johnsons Baby Powder performed by MAS;
             and

      3.     MAS’s methodology for analyzing the materials referenced in
             Defendants’ requests for production 20-24 (Ex. M at 10-12) for analysis
             by PLM for the identification of “chrysotile,” including but not limited
             to observing in real time the analyses performed by MAS on the
             samples of Johnsons Baby Powder, as well as Defendants’ experts
             undertaking real time, contemporaneous observation of the samples on
             the same PLM equipment used by MAS in which MAS has previously
             reported, and may during the inspection report, observing “chrysotile.”




                                         15
Case 3:16-md-02738-MAS-RLS   Document 32227-1   Filed 05/21/24   Page 19 of 19
                              PageID: 183496



Dated: May 21, 2024                  Respectfully submitted,




                                     /s/ Susan M. Sharko
                                     Susan M. Sharko

                                     FAEGRE DRINKER BIDDLE &
                                     REATH LLP

                                     Attorneys for Defendants Johnson &
                                     Johnson and LLT Management, LLC




                                   16
